Van−003 [Notice of Telephonic Hearing] (04/20)

                        UNITED STATES BANKRUPTCY COURT
                 NORTHERN DISTRICT OF ALABAMA, NORTHERN DIVISION


In re:                                                                           Case No. 20−81688−CRJ11
Remington Outdoor Company, Inc.                                                  Chapter 11
                                                 EIN: 26−0174491


          Debtor(s)

                                    NOTICE OF TELEPHONIC HEARING
      Notice is hereby given that a telephonic hearing will be held in the above−referenced case on Thursday, August
27, 2020 at 10:00 AM to consider and act upon the following:

381 − Motion for Leave Motion for Leave to Conduct Discovery Pursuant to Bankruptcy Rule 2004 Filed by Creditor
Donna Soto (Attachments: # 1 Exhibit A # 2 Exhibit B) (Shepard, Tazewell)

      The hearing will be held via an AT&T call−in number. You can find the call−in number and passcode on the
Court's webpage at www.alnb.uscourts.gov. (Each Judge in the District has a specific call−in number. From the
homepage, click the "Judges" tab and select the Judge assigned to the case. If you cannot locate the dial−in−number
on the website, you may call the Clerk's office at 205−714−4000.) Other cases or matters may be scheduled for
telephonic hearing at the same time. Parties should call in five minutes prior to the start of the hearing. Once
connected, please mute your phone until your case is called. After your hearing is completed, please hang up to end
your call. To avoid disruption, telephonic hearing participants are expected to call from a quiet location and are not
permitted to use a "speaker" function or to place the call on hold (as this may cause music or other noises to play
during the hearings of other participants). Participants are encouraged to call from a landline if possible.

      THIS HEARING WILL TAKE PLACE BY TELEPHONE ONLY. DO NOT COME TO THE
COURTHOUSE. PLEASE SEE THE COURT'S WEBSITE FOR ADDITIONAL INFORMATION
(www.alnb.uscourts.gov).

Dated: August 18, 2020                                       By:

                                                             Joseph E. Bulgarella, Clerk
                                                             United States Bankruptcy Court
scm




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